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     Attorneys for Mr. Robert Turner
6
7                        UNITED STATES DISTRICT COURT
8                        FOR THE DISTRICT OF COLUMBIA
9
10   UNITED STATES OF AMERICA,               CASE NO.: 22-CR-00019-RCL-3
11                     Plaintiff,
                                             NOTICE OF APPEARANCE
12        v.                                 AS COUNSEL
13   ROBERT TURNER,
14                              Defendant.
15
16         Please enter the appearance of Trial Attorney, Brittany L. Sherron, Federal
17   Defenders of San Diego, Inc., on behalf of the defendant Robert Turner, in the
18   above-captioned case.
19                                       Respectfully submitted,
20
21   Dated: February 9, 2023             s/ Brittany L. Sherron
                                         Federal Defenders of San Diego, Inc.
22                                       Attorneys for Mr. Robert Turner
                                         Email: Brittany_Sherron@fd.org
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